Case 2:16-cv-06576-CCC-MAH                   Document 353          Filed 03/06/24   Page 1 of 4 PageID:
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                                                             March 6, 2024
 By ECF
 Hon. Claire C. Cecchi, U.S.D.J.
 United States District Court
 for the District of New Jersey
 50 Walnut Street
 Newark, New Jersey 07102

 Re:           Industria de Alimentos Zenú S.A.S. v. Latinfood U.S. Corp. d/b/a Zenú Prods. Co., et al.,
               Civil Action No. 2:16-cv-6576-CCC-MAH

 Dear Judge Cecchi:
 We represent the Plaintiff Industria de Alimentos Zenú S.A.S. (“Industria” or “Plaintiff”) in the
 above-captioned action against the corporate defendant, Latinfood U.S. Corp., and its principal,
 the individual defendant Wilson Zuluaga (together, “Latinfood” or “Defendants”). We write in
 response to the Court’s February 26, 2024 order (D.E. 351) to provide a brief description of this
 action to date and the outstanding motions requiring the Court’s attention. Among the various
 rulings made by Judge McNulty in his decision on the summary judgment motions were orders:
 (i) canceling Defendants’ registration of the Zenú trademark and (ii) permanently enjoining
 Defendants from using the Zenú and Ranchera trademarks. However, the Court stayed its
 cancellation and injunction orders (collectively, hereinafter, the “Injunction Order”) until Plaintiff
 filed authenticated copies of its Colombian trademark registrations with the Court. The Court also
 granted Plaintiff’s summary judgment motion on their source misrepresentation claim.

 Defendants subsequently noticed an interlocutory appeal of the Injunction Order to the Third
 Circuit and moved for reconsideration of the Court’s grant of summary judgment on Industria’s
 source misrepresentation claim only. Defendants also filed a separate motion requesting a stay of
 the Injunction Order until the adjudication of Defendants’ interlocutory appeal of the Injunction
 Order. Two days after these motions were filed, the Court issued an order extending the stay
 initially issued in connection with its Injunction Order until the reconsideration motion is resolved.
 As discussed below, the initial stay of the Injunction Order should be lifted, as Plaintiff has filed
 proof of its Colombian trademark registrations, the reconsideration motion should be denied, and,
 to the extent it has not been mooted or otherwise resolved, Defendants’ stay motion should also be
 denied, thus lifting stays now in place in this Court and the Third Circuit.

 Case Background. Industria is the owner of the ZENÚ and RANCHERA trademarks that have
 been used by Plaintiff for decades to identify meat, sausage, beans, and other packaged food
 products in Colombia, South America. See D.E. 31 (“Am. Compl.”), ¶¶ 1-3. In October 2016,
 Industria commenced this action for infringement of its ZENÚ and RANCHERA trademarks.
 Counts 1-4 and 11 of the Amended Complaint arise under the Lanham Act, Counts 5-10 arise
 under the Copyright Act, and Counts 12-14 allege violations of the Inter-American Convention for
 Trade Mark and Commercial Protection (the “IAC”). Am. Compl.¶¶ 126 et seq.
Case 2:16-cv-06576-CCC-MAH                    Document 353            Filed 03/06/24          Page 2 of 4 PageID:
                                                   14225

Letter to Judge Cecchi                                                                                       Page 2 of 4
March 6, 2024

 After the close of fact discovery, on June 27, 2023, Judge McNulty issued two decisions: (i) a
 decision denying Defendants’ objections to Magistrate Judge Hammer’s opinion awarding
 Industria its attorney’s fees and costs as sanctions for Defendants’ discovery violations and
 declining to grant Defendants’ cross-motion for sanctions. See D.E. 295 (Sanctions Opinion) and
 D.E. 296 (Sanctions Order) (collectively, the “Sanctions Decision”);1 and (ii) a lengthy decision
 on summary judgment, which granted in part and denied in part the parties’ cross-motions for
 summary judgment, and which granted third party defendant Cordialsa’s motion for summary
 judgment dismissing Defendants’ counterclaim.2 See D.E. 297 (SJ Opinion) and D.E. 298 (SJ
 Order) (collectively, the “Summary Judgment Decision”).
 Summary Judgment Decision. Both parties moved for summary judgment on Counts 1-4 for
 trademark infringement under Section 43(a) of the Lanham Act. The Court granted Defendants’
 motion for summary judgment on Industria’s false association and false advertising claims (Counts
 1-3). SJ Order at 2. The Court, finding issues of fact, denied both motions for summary judgment
 on Industria’s trade dress infringement claim (Count 4), which remains for trial. Id. The Court
 denied both parties’ motions for attorney’s fees under the Lanham Act, without prejudice to
 refiling prior to the entry of final judgment in this case. Id. The Court denied Defendants’ motion
 for summary judgment on the ground that some of Industria’s claims against Defendants for
 copyright infringement of its product packaging are time-barred, and limited those claims to cover
 the period starting April 21, 2014. Thus, Industria’s copyright infringement claims (Counts 5-10)
 likewise remain for trial. Id.
 The Court granted summary judgment to Industria on its source misrepresentation claim under
 Section 14(3) of the Lanham Act for cancellation of Latinfood’s Zenú trademark registration
 (Count 11) and conditionally granted summary judgment on Industria’s claims for violations of
 Article 8 of the IAC (Count 12), cancellation of Latinfood’s domestic registration of the Zenú
 trademark (Count 12), and an injunction against Latinfood from using the Zenú and Ranchera
 trademarks (Count 13). See SJ Opinion at 30; SJ Order at 2 (2nd decretal para.). However, the
 Court stayed its Order on these claims (the “Initial Stay”) pending Industria’s submission to the
 Court of evidence of Industria’s registration of the Zenú and Ranchera marks in Colombia.3
 On the source misrepresentation claim, the Court found that Defendants’ January 2013 application
 to the USPTO for registration of the “Zenú” mark was fraudulent on three separate grounds: (i)

 1
   The Sanctions Decision was based on, inter alia, Defendants’ concealing the existence of multiple hard drives,
 withholding relevant Latinfood-related communications stored on Zuluaga’s personal Gmail account, continuing to
 auto-delete electronically stored information despite counsel’s litigation hold notice, and failing to produce relevant
 documents necessitating third party discovery at the Court’s instruction. See Sanctions Opinion at 2-5. Defendants’
 objections to Magistrate Judge Hammer’s sanctions were rejected by Judge McNulty, who concluded that “Judge
 Hammer issued a thorough, detailed, and well-reasoned opinion. I find no clear error of fact or error of law, and I
 agree with Judge Hammer’s analysis.” Id. at 17. Industria’s fee application and determination of the amount to be
 awarded is pending before the Magistrate Judge.
 2
  Cordialsa is the marketing arm and distribution company for Grupo Nutresa S.A., the parent company of Industria
 and Cordialsa. See, e.g., D.E. 44 (Am. Partial Answer) at 22-25.
 3
  Industria’s remaining claims under the IAC Articles 12 (Count 14), 16, 17, and 31 (Count 13) are mooted to the
 extent they seek the same relief of cancellation and an injunction that was conditionally granted to Industria on its
 IAC Article 8 and 18 claims in the Summary Judgment Decision.
Case 2:16-cv-06576-CCC-MAH             Document 353        Filed 03/06/24      Page 3 of 4 PageID:
                                            14226

Letter to Judge Cecchi                                                                      Page 3 of 4
March 6, 2024

 the Court found that “the record contains clear and convincing evidence that Mr. Zuluaga falsely
 claimed in his USPTO application that no other corporation had the right to use the Zenú mark in
 commerce,” based upon “overwhelming evidence in the record demonstrating that Latinfood had
 knowledge of Industria’s Zenú mark when it filed its Zenú application with the USPTO.” (SJ
 Opinion at 67 [citing discussion at id. at 23-25]); (ii) the Court found that Defendants had
 fraudulently attached images of Industria’s products to show the Zenú mark’s use in commerce
 and had sent its agent, USTM, images of Industria’s products to attach to its application (SJ
 Opinion at 68); and (iii) the Court found that Defendants had falsely stated that they had used the
 Zenú mark in commerce since 2011, when the evidence demonstrated that Defendants had not
 used the Zenú mark until 2013, after filing its registration application. Id.
 Matters Presently Pending Before the District Court. On July 11, 2023, Defendants filed two
 motions: (i) a motion for reconsideration [D.E. 302] of the Court’s grant of summary judgment on
 Industria’s source misrepresentation claim (Count 11) under Section 14(3) of the Lanham Act; and
 (ii) a motion for a stay [D.E. 303] of the Injunction Order pending the outcome of Defendants’
 appeal of same to the Third Circuit.
 On July 13, 2023, the Court entered a Text Order [D.E. 304] extending the Initial Stay pending
 resolution of Defendants’ motion for reconsideration (the “Stay Extension”).
 On July 27, 2023, notwithstanding the Text Order extending the stay, Defendants filed a Notice of
 Interlocutory Appeal [D.E. 309] of the Injunction Order. On August 7, 2023, the Third Circuit
 issued its own order staying the interlocutory appeal noticed by Defendants pending the Court’s
 disposition of outstanding post-decision motions [D.E. 313]. As a result of these orders, there has
 been no further activity in Defendants’ interlocutory appeal of the Summary Judgment Decision
 to the Third Circuit.
 On August 10, 2023, in satisfaction of the condition upon which the Court granted summary
 judgment, Industria filed certified copies of its ZENÚ and RANCHERA trademark registration
 certificates issued by the Office of the Superintendent of Industry and Commerce of Colombia,
 South America, together with certificates of authentication (apostilles) and English translations of
 the Spanish language documents prepared by an independent third-party vendor (TransPerfect),
 and requested that the Court lift its stay of its cancellation and injunction order [D.E. 316]. On
 August 24, 2023, Defendants filed a letter response [D.E. 319]. Thus, the matter is fully briefed
 and awaits the Court’s ruling, such that the Court’s Initial Stay of the Injunction Order should be
 lifted.
 In addition, Defendants’ motion for reconsideration of the Court’s grant of summary judgment on
 Industria’s source misrepresentation claim is fully submitted and presently awaits determination
 by the Court, which will cause the Stay Extension to be lifted. Finally, to the extent that Judge
 McNulty did not resolve Defendants’ motion to stay the Injunction Order pending adjudication of
 Defendants’ interlocutory appeal, Plaintiff respectfully requests that the motion be denied, and all
 stays of the Injunction Order are lifted.
 We thank the Court for its attention to these matters.
Case 2:16-cv-06576-CCC-MAH            Document 353   Filed 03/06/24        Page 4 of 4 PageID:
                                           14227

Letter to Judge Cecchi                                                                Page 4 of 4
March 6, 2024

                                                 Respectfully submitted,

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